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8                                       UNITED STATES DISTRICT COURT

9                                  CENTRAL DISTRICT OF CALIFORNIA

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11    KEVIN MODA,                                  )   Case No. CV 16-0545 FMO (Ex)
                                                   )
12                         Plaintiff,              )
                                                   )
13                  v.                             )   FINDINGS OF FACT and CONCLUSIONS
                                                   )   OF LAW
14    LAW OFFICES OF ROBERT C.                     )
      ARONOFF, et al.,                             )
15                                                 )
                           Defendants.             )
16                                                 )

17           Pursuant to the Court’s Findings of Fact and Conclusions of Law, filed contemporaneously

18    with the filing of this Judgment, IT IS ADJUDGED that plaintiff’s action is dismissed with prejudice.

19

20    Dated this 27th day of September, 2017.

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22                                                                         /s/
                                                                    Fernando M. Olguin
23                                                               United States District Judge

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